Case: 2:23-cv-00512-SDM-EPD Doc #: 279 Filed: 12/20/24 Page: 1 of 6 PAGEID #: 2691




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

                                                        :
    ROOT, INC., et al.,                                 :     Case No. 2:23-cv-512
                                                        :
                   Plaintiffs,                          :     Judge Sarah D. Morrison
                                                        :
          v.                                            :     Magistrate Judge Elizabeth Preston Deavers
                                                        :
    BRINSON CALEB SILVER, et al.,                       :
                                                        :
                   Defendants.                          :

                    JOINT MOTION TO MODIFY THE CASE SCHEDULE

         Now comes Plaintiffs Root Inc., Caret Holdings, Inc., and Root Insurance Agency, LLC

(“Plaintiffs” or “Root”) and the Court appointed receiver herein, Jerry E. Peer, Jr. (“Receiver”),

and jointly move this Court for an order modifying the case schedule to allow the parties additional

time to complete limited discovery.1 A memorandum in support and proposed order are attached.




1
 Root and the Receiver have not conferred with Defendant Silver regarding this motion because it is impractical given
his incarceration. Nor have Root and the Receiver conferred with Defendants Collateral Damage, LLC or Eclipse
Home Design, LLC because these entities are unrepresented and in default.
Case: 2:23-cv-00512-SDM-EPD Doc #: 279 Filed: 12/20/24 Page: 2 of 6 PAGEID #: 2692




DATED: December 20, 2024

Respectfully submitted,

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Case: 2:23-cv-00512-SDM-EPD Doc #: 279 Filed: 12/20/24 Page: 3 of 6 PAGEID #: 2693




                                      MEMORANDUM IN SUPPORT

           On February 1, 2024, the Court entered a scheduling ordering setting, inter alia, the

discovery cutoff for December 1, 2024 and dispositive motion deadline for February 15, 2025.

(ECF No. 234.) On February 14, 2024, following a status conference with the Court, the Court

issued an Omnibus Order directing certain parties to exchange settlement demands and schedule

mediation or notify the Court that the case was not yet ready to proceed to mediation. (ECF No.

242.) In the interim period, the parties have diligently focused on settlement negotiations and have

resolved many aspects of this case including agreed dismissals of Plaintiff’s claims against

Defendant Paige McDaniel (ECF No. 276); Plaintiffs’ claims against Defendants Quantasy, LLC,

Quantasy & Associates LLC, and William Campbell (“Quantasy Defendants”) (ECF No. 278);

and the Quantasy Defendants’ counterclaims against Plaintiffs (id.).             As a result, the only

remaining defendants in the case are Brinson Caleb Silver, Collateral Damage, LLC, and Eclipse

Home Design, LLC.

           As discussed with the Court during the September 30, 2024 status conference, the

remaining parties, however, still have some work to do to prosecute this matter. For example:

             Plaintiffs will file a motion to compel against Defendant Silver that will either result in
              Silver’s participation in discovery or establish his disobedience of the Court’s discovery
              order warranting a default judgment against Silver. See Civ.R 37(b)(2)(A)(vi);

             The parties are investigating and pursing Silver’s assets held in a bank account located
              in Jakarta, Indonesia2;

             Plaintiffs are investing and pursuing potential other vendors utilized by Silver to
              perpetrate his fraud and may require Court intervention should these vendors not
              cooperate with forthcoming subpoenas; and




2
    See Receiver’s Ninth Interim Report. (ECF No. 264 at 2.)
Case: 2:23-cv-00512-SDM-EPD Doc #: 279 Filed: 12/20/24 Page: 4 of 6 PAGEID #: 2694




          The Clerk of Court has entered a default against Collateral Damage, LLC and Eclipse
           Home Design, LLC. In the event that Plaintiffs obtain default against Silver, Plaintiffs
           intend to seek a default judgment against Defendants Silver, Collateral Damage, LLC,
           and Eclipse Home Design, LLC.

Accordingly, Plaintiffs and the Receiver respectfully request that the remaining case deadlines be

modified as follows:

 Event                                              Deadline

 Deadline to add additional parties                 February 28, 2025

 Discovery cutoff                                   May 1, 2025

 Dispositive motions                                June 2, 2025


Despite the significant progress so far, these dates will allow the parties additional time to

diligently pursue the remaining work yet to be done in this case.

         For the foregoing reasons, Plaintiffs and the Receiver respectfully request that the case

schedule be modified as set forth herein.
Case: 2:23-cv-00512-SDM-EPD Doc #: 279 Filed: 12/20/24 Page: 5 of 6 PAGEID #: 2695




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Case: 2:23-cv-00512-SDM-EPD Doc #: 279 Filed: 12/20/24 Page: 6 of 6 PAGEID #: 2696




                              CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was served on this 20

December 2024, via CM/ECF upon all counsel of record and via regular mail upon Brinson Caleb

Silver, Collateral Damage, LLC, and Eclipse Home Design, LLC as set forth below:

Brinson Caleb Silver
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Hamilton, OH 45011

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Inmate # 303850
705 Hanover Street
Hamilton, OH 45011

Eclipse Home Design, LLC
c/o Butler County Jail
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                                       /s/William D. Kloss, Jr.
                                       William D. Kloss, Jr. (0040854)

                                       Attorney for Plaintiffs
